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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                      CRIMINAL NO. 1:06cr32WJG-JMR-2

JEREMY DWIGHT BREWER


                              ORDER FINALIZING FORFEITURE


       THIS MATTER is before the Court on motion of the United States of America [United

States] for an order finalizing forfeiture regarding certain properties of the Defendant, Jeremy

Dwight Brewer. (Ct. R., Doc. 59.) The United States represents that, with respect to the need for

a third-party ancillary proceeding as to the property forfeited by the Agreed Preliminary Order of

Forfeiture (Ct. R., Doc. 54), the following property has been administratively forfeited with

notice of the seizure and intent to forfeit having been published and sent to each party appearing

to have an interest in the property through the administrative process and no one having filed an

adequate claim to the property as provided by the notice. It is, therefore,

       ORDERED that the following described personal property, be and is hereby, forfeited:

               One (1) 2005 Ford F-350 Superduty Styleside Crew Cab Truck
               bearing VIN: 1FTWW31PX5EC64911,

as previously ordered in the Agreed Preliminary Order of Forfeiture (Ct. R., Doc. 54) signed by

Defendant Jeremy Dwight Brewer and his attorney, entered by the Court on January 10, 2007,

and filed of record on January 11, 2007. It is further,
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        ORDERED that the requirement of commencing or completing the ancillary proceeding

as required by the Agreed Preliminary Order of Forfeiture is hereby canceled; the Agreed

Preliminary Order is made a final order of forfeiture for all purposes; and the clerk is authorized

to close the forfeiture segment of this case. It is further,

        ORDERED that the above property shall be disposed of by the appropriate federal agency

in accordance with law and regulations.

        SO ORDERED this the 15th day of March, 2007.




                                                 UNITED STATES SENIOR DISTRICT JUDGE




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